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IN THE CIRCUIT COL'RT OI" 'I`HE NIi\"TI'l JUDlCIAL Cl`RCUlT, IN AND
l"OR ORANGE COUN'|`Y, l"l.()Rll)A

 

Case i\'o. :

JOl-l'N DOE, a.k.zL B.F..

Plaintiff,
v.
AETNA l-l'EAI.,TH INC.,
a I"lorida corporation.

Dcfcndant.

/
COMPLAINT

COMS NOW, Plainu'ff, JOHN DOE, a.k.a. B.E., by and through the undersigned
counsel and files this Complaint against Defendant, AETl\'A HEAL'I`H, INC., (hereinaher
“Aetna”) and in support thereof states as follows:

1. 'I`his is an action for breach of contract, negligence, negligence per se, negligent infliction

of emotional distress, and invasion of privacy with damages exceeding §15,000.00

dollars exclusive of interest, costs, and atlorney’s l`ees.

THE PARTIES
2. Plainlill`, B.F.. is a resident of.` Ot“ange Coun.ty Florida and client 0,[’I)el`endant, Aetna

Healt.h, Inc.

3. Defendant, AE'H\`A l'lBAL`i'll INC., (hereinafter"‘!\etna”) is a l"lorida health care
insurance organization providing health cane insurance to individuals in the Central

Floritla area with a principle place of business localcd a14630 Wood|ands Corporate

Blvd.. Hillsborough Counry, Tampa, l~`lorida 33614.

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VENUE AND J`URISDICTION

4. Venue and jurisdiction are proper in Orange County, Florida because PlaintiH"s damages
are in excess ot`$15,000.00 exclusive ot` attorney`s fees, costs and interest and all causes
of action alleged herein accrued in Orangc County, Florida.

GENERAL ALLEGATIONS

5. At all times material hercto, B.E. was a client of Aetna.

6. At all times material hcreto, Actna maintained and managed individual identifiable and
confidential health care information as to B.E. pursuant to 45 C.F.R. Parts 160 and 164,
Subparts A, C and E, the Privacy Sccurity Rules, Secun`ty Standards for the Protection of
Electronic Protected Health lnformation.

7. Actna must maintain compliance with thc F ederal Standards for Privacy of ldentiiiablc
Health lni`orrnation and the Health insurance Portability and Accountability Act of 1996
(HIPAA) that also sets forth the standard of care for private health care information
disclosure violations in the State of Florida.

8. On or about July 28_, 2017 Actna mailed B.E. a letter related to a change in B.E.’s
pharmacy benefits and access to medications that contained private health care
information as to B.E.

9. The aforementioned letter was contained in an envelope with a very large window that
displayed B.E.’s personal health care information such as the first name, last name.
address and a reference to filling prescriptions f or l-llV medications all within the same

large window in the envelope Noting that directly above B.E.’s name are the words

“Clainir'r':_’ (See attached Exhibit “A”)

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lO. Specifically, the minimum amount of information displayed through the window of the
envelope was: “The purpose of this letter is to advise you of the options [hidden text]
Aetna health plan when filling prescriptions for I-IIV Medic[hidden text] members can
use a retail pharmacy or a mail order pharma[hidden text] It’s the members choiee.”

l I. Further confidential health care information of B.E. could be displayed through the
unusually large window in the envelope as the letter inside the envelope was moved and
manipulated through normal handling

12. B.E. is in fact HIV positive and takes HIV medications.

13. B.E.’s HlV status was kept private from all persons except for those specifically chosen
by B.E. for more than 10 years, until Aetna’s unlawful disclosure

14. B.E.’s confidential health care information was unlawfully disclosed by Aetna to various
members of the public and postal employees from the time of mailing to the placing of
the envelope in B.E.’s mailbox.

15. B.E.’s confidential health care information was unlawfully disclosed by Aetna to
members of the public that were also B.E.’s friends, neighbors and members of his/her
household when thc letter was retrieved from the mailbox and leR on the kitchen counter
of B.E.’s residence with B.E.’s aforementioned confidential health care information
openly disclosed to whomever viewed it on the counter.

l6. B.E. now has to live for the rest of his/her life with the stigma, stress and anxiety ol` not
knowing who may or may not know ot`his/her medical condition as referenced herein and
also with those that have in fact learned of B.E.’s medical condition as a result of Aetna’s

unlawful disclosure ol` B.E.’s private health care information

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. B.E. did not consent to any disclosure of private confidential health care information

disclosed as alleged herein as admitted via letter dated August 24, 2017 from Aetna.

(Exhibit “B”)
. All conditions precedent pursuant to this action have been waived and/or complied with.
COUNT 1
('Breach of Contract)

. PlaintiH hereby realleges and incorporates by reference the allegations in paragraphs l

through 18 as though fully set forth in this cause of action.

B.E. and Aetna executed a valid, binding and enforceable contract (HIPAA Release
form, not currently in B.E.’s possession)

Aetna materially breached the contract by unlawfully disclosing B.E.’s private health
care information

B.E. suffered damages as a result of Aetna’s breach of that contract by releasing B.E.’s
private health care information to unauthorized persons in that B.E.’s private and
confidential HIV status and medicinal information is now known to unauthorized
persons

B.E. has incurred attomey’s fees and costs as a result of Aetna’s unlawful acts. As such
Aetna should pay B.E.’s attorney’s fees and costs.

WHEREFORE, Plaintiff, B.E., respectfully requests that this honorable Court enter

judgment against l')efendant, Aetna, lnc., for breach of contract and award B.E. damages in

excess of $15,000.00; and order that Aetna pay B.E.’s attorney’s fccs, costs and interest; and for

any other and such relief as this Court deem just, proper or equitable

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COUNT H
(Ncgligence)

24. Plaintiff hereby rcallegcs and incorporates by reference the allegations in paragraphs l
through 18 as though fully set forth in this cause of action.

25. Aetna owed B.E. a reasonable duty of care to maintain the confidentiality and security of
B.E.’s health care information

26. Aetna breached the duty of care owed to B.E. when Aetna negligently disclosed B.E.’s
confidential health care information via the large window in the aforementioned letter
identified as Exhibit A.

27. B.E. suffered damages as a result of Aetna’s negligent actions in that B.E.’s private
health care information was disclosed to unauthorized persons and his/her HIV status is
now known by an unidentified unknown number of persons without authorization to
obtain such information

28. Aetna was in exclusive control of B.E.’s disclosed confidential health care information at
all times hereto.

29. But for Aetna’s actual disclosure of B.E.’s confidential health care information, B.E.’s
damages would not have occurred

30. B.E. suffered foreseeable proximate damages as a result of Aetna’s negligent disclosure
of B.E.’s private health care information because the type of damage’s incurred by B.E.
(the disclosure of his/her private health care information to unauthorized persons) caused
increased stress, anxiety, insomnia and depression in B.E. for which B.E. has sought
treatment of from his lnfectious Disease Physician and Primary Care Physician and has

been prescribed medications f or, are the type of foreseeable damages that naturally flow

from the unlawful disclosure of same.

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31. As a result of Aetna’s actions as alleged herein, B.E. missed approximately fifteen (15)
days of work that are no longer available to B.E. as paid time oif.
32. BiE. has incurred attorney’s fees and costs as a result of Aetna’s unlawful acts. As such

Aetna should pay B.E.’s attorney’s fees and costs.

WHEREFORE, Plainti&`, B.E., respectfully requests that this honorable Court enter
judgment against Defendant, Aetna, Inc., for negligence and award B.E. damages in excess of
$15,000.00; and order that Aetna pay B.E.’s attorney’s fees, costs and interest; and for any
other and such relief as this Court deem just, proper or equitable

COUNT III
(Negligent Infliction of Emotional Distress)

33. Plaintiff hereby realleges and incorporates by reference the allegations in paragraphs l
through 18 as though fully set forth in this cause of action.

34. At all relevant times Aetna owed B.E. a duty of reasonable care to maintain the
confidentiality of B.E.’s confidential health care information

35 . The damages suffered by B.E.’s were reasonably foreseeable as the type of damages
expected to result from negligent disclosure of B.E.’s confidential health care
information

36. At all times Aetna had exclusive ownership and authority to control the B.E.’s
confidential health care information, as well as the actions of the employee(s) and/or
vendors that lead to the negligent disclosure of B.E.’s medical records.

37. At all times Aetna knew or should have known that the conduct described herein would

and did proximately result in B.E.’s emotional distress.

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38. B.E. is entitled to compensatory and punitive damages to be ascertained at trial.

39. B.E. has incurred damages in the form of increased stress, anxiety, depression and
insomnia as a result of Aetna’s disclosure of his confidential healthcare information and
for which B.E. has sought medical treatment of those aggravated conditions from his
lnfectious Disease Physician and his Primary Care Physician that have in turn prescribed
medications for B.E. As such Aema should pay B.E.’s attomey’s fees and costs.

40. As a result of Aetna’s actions as alleged herein, B.E. missed approximately fifteen (15)
days of work that are no longer available to B.E. as paid time off.

41. B.E. has incurred attorney’s fees and costs as a result of Aetna’s unlawful disclosure of
his/her private health care information
WHEREFOR.E, Plaintiff, B.E., respectfully requests that this honorable Court enter

judgment against Defendant, Aetna, Inc., for negligent infliction of emotional distress and

award B.E. damages in excess of $15,000.00; and order that Aetna pay B.E.’s attorney’s fees,
costs and interest; and for any other and such relief as this Court deem just, proper or
equitable

SQLNT_H
(Negligence Per Se)

42. Plaintiff hereby realleges and incorporates by reference the allegations in paragraphs l
through 18 as though fully set forth in this cause of action.

43. Aetna’s conduct with regard to its retention, maintenance and disclosure of patient
medical records is governed by F.S. 395.025 and F.S. 456.057.

44. Florida Statutes 395.025 and 456.057 create a statutory standard of care for the retention,

maintenance and disclosure of patient medical rccords.

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Aetna breached the standard of care required for the disclosure of patient medical records
under Florida Statutes 395.025 and 45b.057 by failing to keep B.E.’s private health care
information confidential and negligently disclosed B.E’s private health care information
B.E. is among the protected class of persons for which the aforementioned statutes were
designed to protect against injury or otherwise unauthorized disclosure and use of
medical records and private health care information

Aetna’s violation of these statutory standards established by Florida Statutes 395.025 and
456.057 proximately caused B.E. damages warranting an award of compensatory
damages against Aetna.

B.E. suffered foreseeable damages as a result of Aetna’s negligent disclosure of B.E.’s
private health care information because the type of damage’s incurred by B.E. (the
disclosure ofhis/her private health care information to unauthorized persons) that caused
B.E. increased stress, anxiety, insomnia and depression as a result of Aetna’s disclosure
for which B.E. has sought treatment from his Infectious Disease Physician and Primary
Care Physician and has been prescribed medications for, are thc type of foreseeable
damages that naturally flow from the unlawful disclosure of same.

As a result of Aetna’s actions as alleged herein, B.E. missed approximately fifteen (15)
days of work that are no longer available to B.E. as paid time off.

B.E. has incurred attomey’s fees and costs as a result of Aetna’s unlawful acts of
disclosing his/her personal and private health care information to unauthorized persons.

As such Aetna should pay B.E.’s attorney’s fees and costs.

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WHEREFORE, Plaintiff, B.E., respectfully requests that this honorable Court enter
judgment against Defendant, Aetna, Inc., for negligence per se and award B.E. damages in
excess of Sl 5,000.00; and order that Aetna pay B.E.’s attorney’s fees, costs and interest; and for
any other and such relief as this Court deem just, proper or equitable.

COUNT V - INVASION OF PRIVACY
(Public Disclosure of Private Facts)

51 . Plaintiff hereby realleges and incorporates by reference the allegations in paragraphs l
through 18 as though fully set forth in this cause of action.

52. B.E. has and continues to have a reasonable expectation of privacy in the protection and
confidentiality of his/her private health care information (Fla. Const. Ait. I, Sec. 23)

53. B.E. has a statutory and _Florida Constitutional Right to privacy in his/her medical
information

54. Aetna has and continues to have a statutory obligation to maintain the privacy of B.E.’s
health care infonnarion. '

55 . Aetna intruded upon B.E.’s privacy by permitting unauthorized access and disclosure of
B.E.’s medical records to unauthorized personnel.

56. The intrusion into personal confidential medical information is highly offensive to a
reasonable person.

57 . B.E.’s personal health care information is of no legitimate public conccm.

58. B.E. has incurred damages in the form of increased stress, anxiety, depression and
insomnia as a result of Aetna’s disclosure of B.E.’s confidential health care information
for which B.E. has sought treatment from his Infectioirs Disease Physician and his
Primary Care Physician and for which B.E. has been prescribed medications for those

aggravated conditions

 

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59. As a result of Aetna’s actions as alleged herein, B.E. missed approximately fifteen (15)
days of work that are no longer available to B.E. as paid time otf.

60. B.E. has incurred attorney’s fees and costs as a result of Aetna’s unlawful disclosure of
his/her private and confidential health care information As such Aetna should pay B.E.’s
attorney’s fees and costs.

WHEREFORE, Plaintiff, B.E., respectliilly requests that this honorable Court enter
judgment against Defendant, Aema, 'I.nc., for invasion of privacy and award B.E. damages in
excess of $15,000.00; and order that Aetna pay B.E.’s attorney’s fees, costs and interest; and for

any other and such relief as this C_ourt deem just, proper or equitable.

PLAlN'l'IFI~` DEMANDS JURY 'I`RIAL ON ALL MA'I'I`ERS TRIED HEREIN.

 

Respectfully submitted this 14th day of May, 2018

 

The Orlando Law Group, PL

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EXHIBIT A TO COMPLAINT

SEALED IN ENTIRETY BY STATE COURT

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EXHIBIT B TO COMPLAINT

SEALED IN ENTIRETY BY STATE COURT

